
OPINION OF THE COURT
PER CURIAM.
This is a landlord tenant action. At the conclusion of the trial, the Trial Judge found “upon uncontroverted evidence that the Plaintiff terminated Defendant’s electricity service on November 4, 1987 in retaliation to (sic) a rent dispute. Defendant is entitled to recover pursuant to Florida Statute under Section 83.67(4).” The Trial Judge then found that the imposition of the penalties provided by that Statute were inequitable under the facts and circumstances of this cause.
There is no record on appeal or stipulation of facts and this Court is bound by the Trial Judge’s finding of facts.
*123The penalty provisions of Florida Statute 83.67(4) are mandatory and the trial judge is without discretion to consider the equities once a finding of termination has been made.
This cause is remanded to the trial court with directions to enter judgment in accordance with the provisions of the Statute.
Reversed and Remanded.
GOSHORN, GILBERT S., JR., MOXLEY, JOHN DEAN, JOHNSTON, LAWRENCE V., concur.
